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                                    UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF TEXAS


In     Robertshaw US Holding Corp.
Re:    Debtor                                                 Case No.: 24−90052
                                                              Chapter: 11




                               NOTICE OF FILING OF OFFICIAL TRANSCRIPT



An official transcript has been filed in this case and it may contain information protected under the E−Government
Act of 2002, and Fed. R. Bank. P. 9037.

Transcripts will be electronically available on PACER to the public 90 days after their filing with the court. To
comply with privacy requirements of Fed. R. Bank. P. 9037, the parties must ensure that certain protected information
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If redaction is necessary, the parties must file a statement of redaction listing the items to be redacted, citing the
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the statement of redaction is available at http://www.txs.uscourts.gov.

      • the last four digits of the social security number or taxpayer identification number;
      • the year of the individual's birth;
      • the minor's initials;
      • the last four digits of the financial account number; and
      • the city and state of the home address.


Any additional redaction requires a separate motion and Court approval.

A party may review the transcript at the Clerk's Office public terminals or purchase it by following the instruction on
our website at http://www.txs.uscourts.gov or by calling (713) 250−5500 . A party is only responsible for reviewing
the:


      • opening and closing statements made on the party's behalf;
      • statements of the party;
      • testimony of any witness called by the party; and
      • any other portion of the transcript as ordered by the court.




Redaction is your responsibility. The Clerk, court reporter, or transcriber will not review this transcript for
compliance.



                                                              Nathan Ochsner
                                                              Clerk of Court
